                                        Case 14-34509-RAM                          Doc 38         Filed 01/23/15      Page 1 of 2

                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                        CHAPTER 13 LMM PLAN (Individual Adjustment of Debts)
                                         2nd Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                            Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Angel Oscar Caballero Curet                         JOINT DEBTOR: Niuvys Rosales Reyes                    CASE NO.:
 Last Four Digits of SS#                   xxx-xx-6676                   Last Four Digits of SS# xxx-xx-7889

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $              72.23 for months           1       to        4       ;
           B.       $             124.82 for months            5      to        60      ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  3,750.00       TOTAL PAID $                      3,490.00
                     Balance Due       $               260.00 payable $ 65.00                    /month (Months          1 to       4 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 -NONE-                                                  Arrearage on Petition Date $
 Address:                                                         Arrears Payment $                             /month       (Months   to )
 Account No:                                                      Regular Payment $                             /month       (Months   to )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                             Description of Collateral
             Secured Creditor                                 and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments
                                                          6990 NW 177 Street,
                                                                        #J103
                                                            Hialeah, FL 33015
 Chase                                                        Value based on
 1 Chase Sq; Rochester, NY                               Miami-Dade Property
 14643                                                     Appraiser's Office.
 Account No: xxxxxxxx5945                        $                  94,490.00                0%          $          0.00        0 To 0                            0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                    /month       (Months to                               )     Regular Payment $
Unsecured Creditors: Pay $ 112.33//month (Months 5 to 60).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Seterus Inc: Debtor will pay claim directly.
             Shoma Villas I of Miami: Debtor will pay claim directly.

             Assumed Contracts:
             American Honda Finance Acct No: XXXX2031

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that the deadline for providing
             the Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)
             shall provide the trustee with verification of their disposable income if their gross household income increases by
             more than 3% over the previous year’s income.

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                                        Case 14-34509-RAM               Doc 38      Filed 01/23/15   Page 2 of 2


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Angel Oscar Caballero Curet                                     /s/ Niuvys Rosales Reyes
 Angel Oscar Caballero Curet                                         Niuvys Rosales Reyes
 Debtor                                                              Joint Debtor
 Date: January 23, 2015                                              Date: January 23, 2015




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